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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION



  UNITED STATES OF AMERICA,
                                                     Case No. 3:24-CV-00722-BJB
                            Plaintiff

  v.                                                 Electronically filed


  LOUISVILLE/JEFFERSON COUNTY
  METRO GOVERNMENT,

                            Defendant


                                           ORDER

        Motion having been made, and the Court being sufficiently advised:

 IT IS HEREBY ORDERED that:

        The Motion by ACLU of Kentucky and 14 Other Louisville Community Organizations For

 Leave To File Amicus Curiae Brief Supporting Entry Of The Parties’ Negotiated Consent Decree

 is hereby GRANTED.

 IT IS FURTHER ORDERED that:

        The Clerk SHALL file the tendered Amicus Brief in the above-styled action.
